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12
13
                                 UNITED STATES DISTRICT COURT
14
                              NORTHERN DISTRICT OF CALIFORNIA
15
                                      SAN FRANCISCO DIVISION
16
     JUAN L. SOLIS,                                         )   CASE NO. 4:13-cv-04085-SBA
17               Plaintiff,                                 )
                                                            )   STIPULATION AND ORDER OF
18          vs.                                             )   DISMISSAL WITH PREJUDICE
                                                            )   BETWEEN PLAINTIFF AND
19   TRANS UNION LLC and PENNSYLVANIA                       )   DEFENDANT TRANS UNION,
     HIGHER EDUCATION ASSISTANCE AGENCY,                    )   LLC ONLY
20   a Pennsylvania corporate dba FedLoan Servicing,        )
                   Defendants.                              )
21
22          Plaintiff Juan L. Solis, by counsel, and Defendant Trans Union, LLC (“Trans Union”),
23   by counsel, hereby stipulate and agree that all matters herein between them have been
24   compromised and settled, and that Plaintiff’s cause against Trans Union only should be
25   dismissed, with prejudice, with each party to bear its own costs and attorneys’ fees.
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     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
     DEFENDANT TRANS UNION, LLC ONLY – 4:13-CV-04085-SBA
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 1                                                 Respectfully submitted,
 2
 3   Date: January 14, 2014                        s/ Mark F. Anderson (w/ email consent)
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11
     Date: January 14, 2014                        s/ William M. Huse
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                                                   Local Counsel for Defendant Trans Union,
24                                                 LLC
25                                                 Pursuant to Local Rule 5-1(i)(3), I attest
                                                   that concurrence in the filing of this
26                                                 document has been obtained from each of
                                                   the Signatories.
27
28

     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
     DEFENDANT TRANS UNION, LLC ONLY – 4:13-CV-04085-SBA
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              Case 4:13-cv-04085-SBA Document 27 Filed 01/15/14 Page 3 of 3



 1                                              ORDER
 2          PURSUANT TO STIPULATION, IT IS SO ORDERED that all claims of Plaintiff Juan
 3   L. Solis against Defendant Trans Union, LLC are dismissed, with prejudice. Plaintiff Juan L.
 4   Solis and Defendant Trans Union, LLC shall each bear their own costs and attorneys’ fees.
 5
 6            1/15/2014
     Date: ________________________                     ____________________________________
 7                                                      JUDGE, United States District Court,
                                                        Northern District of California
 8
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     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
     DEFENDANT TRANS UNION, LLC ONLY – 4:13-CV-04085-SBA
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